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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-63107-CIV-MORENO


  GLORIA STHEFANY BAQUE,

                 Plaintiff,

         v.

  MAMACITA’S, INC., a Florida profit corporation,
  MARIA B. NARVAEZ; JOSE A. GOMEZ, and
  MARLON GOMEZ,

               Defendants.
  ____________________________________________/

                 JOINT MOTION TO APPROVE FLSA SETTLEMENT,
        DISMISS WITH PREJUDICE, AND RETAIN JURISDICTION TO ENFORCE

         The Plaintiff and Defendants, through undersigned counsel, hereby respectfully request

  that this Court approve the Parties’ Confidential FLSA Settlement Agreement, Dismiss Case With

  Prejudice, and retain jurisdiction to enforce. The Parties state as follows:

                                    Procedural History and Facts

         On December 17, 2019, the Plaintiff filed a Complaint (DE 1) against the Defendants

  alleging minimum wage violations provisions of the Fair Labor Standards Act (“FLSA”) and the

  Florida Minimum Wage Amendment. The Plaintiff also asserts an FLSA unpaid overtime claim

  (Count I). On February 24, 2020, the Defendants filed an Answer with Affirmative Defenses

  disputing all liability. Notwithstanding that the Defendants dispute the Plaintiff’s entitlement to

  any relief under the FLSA or any other law, the Defendants have agreed to settle this case.

         Contemporaneous with the filing of this Motion, the Court is being provided with a copy

  of the Confidential Settlement Agreement via joint e-mail submission by the parties’ counsel.




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                                        Memorandum of Law

         The settlement of the instant action involves a situation in which the Court may approve

  the Parties’ settlement to resolve and release the Plaintiffs’ claims against Defendant. See, Lynn’s

  Food Stores, Inc. v. United States, 679 F.2d, 1350, 1354 (11th Cir. 1982). The proposed settlement

  arises out of an action that was adversarial in nature.      Among the numerous contested facts

  between the parties: (1) the number of hours Plaintiff worked per week, (2) whether the Plaintiff

  was paid at or above the applicable minimum wage rate, (3) whether the Defendants are entitled

  to an FLSA “tip credit” against the minimum wages paid the Plaintiff, (4) whether the Plaintiff is

  entitled to liquidated damages; (5) whether the individual defendants can be held liable as

  “employers,” as defined by the FLSA.

         In light of the factual disputes, this settlement allows the Parties to move on, and avoid the

  risks and continuing costs and fees of litigation. The settlement also promotes judicial efficiency.

  Based, on the foregoing, the Court should find the Parties’ Agreement fair and reasonable.

         WHEREFORE, the Plaintiff and the Defendant move the Court to approve and ratify and

  approve the Parties’ settlement, retain jurisdiction to enforce the obligations under the Settlement,

  dismiss the Plaintiff’s case with prejudice, and grant all other relief deemed appropriate.

         Respectfully submitted this 25th day of June 2020 by,

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